        Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 1 of 7




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

   EMMA KOE et al.,

                           Plaintiffs,

               v.
                                                   Civil Action No. 1:23-cv-
   CAYLEE NOGGLE et al.,                           02904-SEG

                         Defendants.




 PARTIES’ JOINT PROPOSED HEARING AND BRIEFING SCHEDULE

      Pursuant to the Court’s orders at its July 5, 2023, Hearing (“the Initial

Hearing”) and subsequent Minute Order (ECF No. 61), the parties met and conferred

on July 6th, 2023 at 4:15 PM ET and again on July 7th at 10:00 AM ET to discuss a

proposed schedule for an expedited evidentiary hearing. The parties also discussed

a proposed schedule for Plaintiffs’ Reply to Defendants’ Opposition to Plaintiffs’

Motion for a Temporary Restraining Order and Preliminary Injunction (ECF No. 2),

Defendants’ Sur-Reply, and Plaintiffs’ Motions to Proceed Under Pseudonyms. The

parties were able to reach agreement as follows.




                                         1
         Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 2 of 7




    I.    PARTIES’ JOINT POSITION REGARDING THE EVIDENTIARY
          HEARING AND DEFENDANTS’ SUBMISSION OF EXPERT
          DECLARATIONS

      The Parties agree that an evidentiary hearing should take place the week of

August 7-13. The Parties respectfully request that the Court hold the hearing with

live testimony from experts 1 on August 10th, 2023. Plaintiffs have confirmed their

experts are available on August 10th. 2 The Parties anticipate that the evidentiary

hearing can be completed in one day, but in an abundance of caution, respectfully

request that the Court also set aside time on the morning of August 11th should it be

necessary. The Parties agreed that Defendants will serve any expert declarations by

August 1st, 2023. Plaintiffs anticipate serving one additional expert declaration with

their TRO reply and neither party anticipates submitting any further rebuttal

testimony.

      If the Court is unable to accommodate this request to hold the hearing on

August 10th, the Parties submit the following statements regarding alternative dates:



1
  Defendants would propose dispensing with direct examinations to save time;
Plaintiffs believe direct testimony is necessary. Defendants also reserve the right to
seek testimony from the Plaintiffs’ fact witnesses but hope to avoid that necessity
if possible. Plaintiffs do not believe such testimony is necessary.
2
 Defendants are working to confirm the availability of their anticipated experts,
who are in the process of being retained. At least one expert has an obligation the
second week of August but can testify remotely, which Plaintiffs have indicated is
acceptable to them if necessary. Defendants expect to inform the Court by 5:00 PM
ET on Thursday, July 13th, as to the in-person availability of their other experts.
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         Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 3 of 7




      Plaintiffs’ Position: August 10th represents the outer limit of the time period

the Plaintiffs believe the evidentiary hearing should occur, given the imminence of

the harms faced by Plaintiffs, and the Court’s desire to expedite the proceedings. If

the Court is unable to hold a hearing by August 10th, Plaintiffs respectfully request

that the Court hold a hearing on Plaintiffs’ Motion for a Temporary Restraining

Order (ECF No. 2) on or around July 21st, 2023, with a later date set for an

evidentiary hearing on Plaintiffs’ Motion for a Preliminary Injunction. As described

below, the Parties have agreed to complete briefing on the Motion by July 19th, 2023,

so the Court will have a complete written record by that date.

      Defendants’ Position: Defendants believe a hearing could be held the week

of August 14 if necessary, and (in light of the concerns already raised in the TRO

briefing about lack of an imminent harm) believe that is preferable to a decision

without a hearing. Indeed, the week of August 14 is preferable for at least one of

Defendant’s experts but in the interest of compromise they are prepared to proceed

with a hearing the week before and appreciate Plaintiffs’ willingness to

accommodate remote testimony.


   II.    PARTIES’ JOINT POSITION REGARDING THE BRIEFING
          SCHEDULE AND PSEUDONYM MOTIONS

      The Parties agree that Plaintiffs will file their Reply to Defendants’

Opposition to Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary


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        Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 4 of 7




Injunction (ECF No. 41) on July 12th, 2023. Defendants will file their Sur-Reply on

July 19th, 2023.

      The Parties discussed Plaintiffs’ Motions to Proceed Under Pseudonyms (ECF

Nos. 3–7). Defendants informed Plaintiffs that they do not intend to challenge

Plaintiffs’ Motions, but reserve the right to seek discovery with appropriate

confidentiality protections.

      The parties have further agreed to postpone any deadline for Defendants to

submit an answer or other responsive pleading under Rule 12 until 21 days after the

court issues a decision on the motion for preliminary injunction.

      Respectfully submitted this 7th day of July, 2023.

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        Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 5 of 7




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       Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 6 of 7




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                                    6
        Case 1:23-cv-02904-SEG Document 67 Filed 07/07/23 Page 7 of 7




                         CERTIFICATE OF SERVICE

      I hereby certify that, on July 7, 2023, I electronically filed the foregoing with

the Court and served it on opposing counsel through the Court’s CM/ECF system.

All counsel of record are registered ECF users.

                                              /s/ Benjamin G. Bradshaw
                                              Benjamin G. Bradshaw




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